
931 So.2d 171 (2006)
Jesse RUTLEDGE, Petitioner,
v.
James R. McDONOUGH, Secretary, Florida Department of Corrections, Respondent.
No. 1D05-3702.
District Court of Appeal of Florida, First District.
May 18, 2006.
Rehearing Denied June 22, 2006.
*172 Jesse Rutledge, pro se, Petitioner.
Philip A. Fowler, Assistant General Counsel, Florida Department of Corrections, Tallahassee, for Respondent.
PER CURIAM.
The petitioner's argument that the trial court departed from the essential requirements of law by denying his petition for writ of mandamus is without merit and is rejected. But because the underlying action constitutes a "collateral criminal proceeding" pursuant to section 57.085(10), Florida Statutes, the trial court improperly imposed two liens upon the petitioner's inmate trust account for payment of court costs and fees. See Cox v. Crosby, 31 Fla. L. Weekly D310, ___ So.2d ___, 2006 WL 176681(Fla. 1st DCA Jan.26, 2006), rev. granted sub nom. McDonough v. Cox, No. SC06-301, 924 So.2d 809, 2006 WL 1047612 (Fla. Mar. 14, 2006); Schmidt v. Crusoe, 878 So.2d 361 (Fla.2003). We accordingly quash the two lien orders. The trial court should direct the reimbursement of any funds that have been withdrawn from the petitioner's account to satisfy the improper lien orders.
The petition is DENIED as to the challenge to the order by which the trial court denied mandamus, but it is GRANTED as to the challenge to the lien orders and those orders are hereby QUASHED.
ALLEN, VAN NORTWICK, and POLSTON, JJ., concur.
